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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §   CASE NO. 2:24-mj-00020-BR (1)
                                                 §
NICKOLAS O’BRIEN (1)                             §

                         UNOPPOSED MOTION FOR CONTINUANCE

         Defendant, NICKOLAS O’BRIEN, by and through his undersigned counsel, moves the

Court to grant a continuance of the Detention Hearing and would show:

         1.     On March 1, 2024, the Court appointed the undersigned counsel as the attorney for

Defendant (Doc 8) and set a Preliminary Examination and Detention Hearing for Wednesday,

March 6, 2024 (Doc 10).

         2.     Counsel for Defendant has a scheduling conflict on March 6, 2024 and will not be

available until after March 11, 2024.

         3.     On March 4, 2024, Counsel Anna Marie Bell advised she does not oppose the

continuance. Mrs. Bell also advised that she would not be available on Friday, March 15, 2024.

                                            PRAYER

         4.     Defendant prays that the Court grant a continuance of the Detention Hearing and

reset the hearing until after March 11, 2024.




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                                              Respectfully submitted,

                                              /s/ Benjamin D. Doyle
                                              Benjamin D. Doyle, SBN 24080865
                                              Stockard, Johnston, Brown & Netardus, P.C.
                                              bdoyle@sjblawfirm.com
                                              1030 N. Western
                                              Amarillo, Texas 79106
                                              Main: (806) 372-2202
                                              Fax: (806) 379-7799
                                              Attorney for Nickolas O’Brien


                             CERTIFICATE OF CONFERENCE

        This is to certify that Anna Marie Bell, Assistant U.S. Attorney, has been contacted

regarding the substance of this Motion. Mrs. Bell reported that the prosecution is unopposed.

                                              /s/ Benjamin D. Doyle
                                              Benjamin D. Doyle


                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 4, 2024, I electronically filed the foregoing document with

the clerk of court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to

the Assistant U.S. Attorney, Anna Marie Bell, the attorney of record in this case, who has

consented in writing to accept this Notice as service of this document by electronic means.

                                              /s/ Benjamin D. Doyle
                                              Benjamin D. Doyle




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